          Case 1:17-cv-01580-LGS Document 289 Filed 10/16/20 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ X
                                                              :
                                                              :
                                                              :
 IN RE CHICAGO BRIDGE & IRON                                  :   17 Civ. 1580 (LGS)
 COMPANY N.V. SECURITIES LITIGATION :
                                                              :       ORDER
                                                              :
                                                              :
 ------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on October 9, 2020, Daniel Cohen, individually and as next friend for Renee

Cohen, Albert Cohen, Lauren Cohen and Martin Cohen; Betty Cohen; Zephyr Oil & Gas

Funding Co. LLC; Zephyr Acquisition Holdings LLC; Cohen Capital Management LLC; Cohen

Asset Management LLC and RMS Contemporary LLC (the “Cohen Plaintiffs”) moved to opt out

of the class, claiming excusable neglect resulting from non-receipt of the mailed class notice due

to COVID-19-related office closures (Dkt. No. 273).

        WHEREAS, on October 13, 2020, Appaloosa Investment L.P. I, on its own behalf and as

successor in interest to Thoroughbred Fund LP and Palomino Master Ltd., as successor in

interest to Thoroughbred Master Ltd. and Palomino Fund Ltd.; CB Litigation Recovery I LLC;

Gotham Diversified Neutral Master Fund LP; Gotham Enhanced Long Master Fund LP; Gotham

Customized Strategies II LP; Gotham Targeted Neutral Master Fund LP; Gotham Penguin Fund

LP; Gotham Absolute Return Fund, a series of FundVantage Trust; Gotham Enhanced Return

Fund, a series of FundVantage Trust; Gotham Neutral Fund, a series of FundVantage Trust;

Gotham Hedged Value Strategies 115/65 (Master) LP and Gotham Hedged Value Strategies

140/40 (Master) LP (the “Direct Action Plaintiffs”) moved to opt out of the class, claiming

excusable neglect resulting from non-receipt of the mailed class notice due to COVID-19-related

office closures (Dkt. No. 278).
        Case 1:17-cv-01580-LGS Document 289 Filed 10/16/20 Page 2 of 2

       WHEREAS, Defendants Chicago Bridge & Iron Company N.V., Philip Asherman and

Westley S. Stockton do not oppose either motion (Dkt. No. 288). It is hereby

       ORDERED that the Cohen Plaintiffs’ and Direct Action Plaintiffs’ motions to opt out of

the class after the opt-out deadline are GRANTED. The Clerk of Court is respectfully directed

to close the docket entries at numbers 273 and 278.

Dated: October 15, 2020
       New York, New York




                                               2
